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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                        CASE NO. 16-62360-CIV-ALTONAGA/O’Sullivan

  JOAN WILLIAMS,

         Plaintiff,
  v.

  FIRST NATIONAL COLLECTION
  BUREAU, INC.,

        Defendant.
  _______________________________/

                        ORDER ADMINISTRATIVELY CLOSING CASE

         THIS CAUSE is before the Court upon the Plaintiff’s Notice of Pending Settlement

  [ECF No. 27], filed on February 26, 2017. The Court having carefully reviewed the file, and

  being otherwise fully advised, it is hereby

         ORDERED AND ADJUDGED as follows:

         1. The above-styled action is administratively CLOSED without prejudice to the parties

  to file a stipulation for dismissal within thirty (30) days of the date of this Order.

         2. If the parties fail to complete the expected settlement, either party may request the

  Court to reopen the case.

         3. The Clerk shall CLOSE this case for administrative purposes only. Any pending

  motions are DENIED AS MOOT.

         DONE AND ORDERED in Miami, Florida this 27th day of February, 2017.



                                                            _________________________________
                                                            CECILIA M. ALTONAGA
                                                            UNITED STATES DISTRICT JUDGE
  cc:    counsel of record
